        Case 1:20-cv-10832-AT-SN Document 474 Filed 05/02/22 Page 1 of 1




                                            D: +1 202.974.1680
                                           msolomon@cgsh.com




                                                                      May 2, 2022
VIA ECF

Hon. Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square
New York, NY 10007

            RE: SEC v. Ripple Labs Inc. et al., No. 20-cv-10832 (AT)(SN) (S.D.N.Y.)

Dear Judge Netburn:

               Pursuant to Part I.G of the Court’s Individual Practices, we write on behalf of
Bradley Garlinghouse, Christian Larsen and Ripple Labs Inc. (collectively, “Defendants”).
Defendants respectfully request an extension to Friday May 13, 2022 of the time to respond to
the SEC’s letter brief setting forth its assertions that internal documents related to a speech given
by a former SEC official, ECF No. 473, are protected from disclosure by the attorney-client
privilege. Defendants’ response would otherwise be due on Wednesday, May 4, 2022. This is
Defendants’ first request for an extension, and the SEC does not object.


                                       Respectfully Submitted,

                                       /s/ Matthew C. Solomon
                                       Matthew C. Solomon
